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March 28, 2018

Hon. Amy Berman Jackson
United States District Judge
United States District Court for the District of Columbia
333 Constitution Ave. N.W.
Washington D.C. 20001

Re: United States v. Alex van der Zwaan,18-CR-31(AB.n

Dear Judge Jackson:

Yesterday, we electronically filed a sentencing memorandum and supporting letters on behalf of
Mr. van der Zwaan (ECF No. 17). This morning, we have replaced the publicly-filed
memorandum with a revised version which redacts the precise contact information of two of the
             wro e letters on Mr. van der Zwaan's behalf. See ECF No. 20, Ex. 3 and Ex. 4.
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Respc~~ully sub ted,
        ~J
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Nicholas A. Flath


cc:     Counsel for the United States(via ECF)




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